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                                                U.S. Department of Justice


                                                United States Attorney
                                                Eastern District of New York

SCJ                                             271 Cadman Plaza East
F. #2017R01691                                  Brooklyn, New York 11201



                                                December 3, 2019


By Hand Delivery and ECF

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             Re:    United States v. Aronov et al.
                    Criminal Docket No. 19-408 (MKB)

Dear Defense Counsel:

             Discovery is being provided to you in accordance with Rule 16 of the Federal
Rules of Criminal Procedure, and pursuant to the protective order entered by the Court on
December 3, 2019. The government also requests reciprocal discovery from each defendant.

             The government will continue to provide discovery on a rolling basis.
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I.     The Government’s Discovery

       A.     Statements of the Defendant

              To the extent a defendant made statements to law enforcement, a summary of
those statements will be provided separately to that specific defendant.

       B.     The Defendant’s Criminal History

               A copy of a defendant’s criminal history report will be provided separately to
that specific defendant.

       C.     Documents and Tangible Objects

               The government has made available at First Choice Copy (“First Choice”), for
reproduction to the defendants, documents bates-stamped DOJ0000000001 –
DOJ0000637733 obtained, inter alia, (i) through the issuance of administrative subpoenas by
HUD-OIG, (ii) through the issuance of grand jury subpoenas, and (iii) voluntary productions.
Enclosed is an index of the documents and data (the “Government’s Discovery Index”) to
enable the defendants to obtain the materials he or she considers relevant to his or her
defense. You may obtain copies of the materials listed on the Government’s Discovery
Index by contacting Joseph Meisner at First Choice at 718-381-1480, extension 212, and
referencing a print order number that will be provided under separate cover. First Choice is
located at 52-08 Grand Avenue, Maspeth, New York 11378.

              You may examine the physical evidence discoverable under Rule 16,
including original documents, by calling me to arrange a mutually convenient time.

       D.     Reports of Examinations and Tests

             The government will provide you with copies of any additional reports of
examinations or tests in this case as they become available.

       E.     Expert Witnesses

                The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R.
Evid. 702, 703 and 705 and notify you in a timely fashion of any expert that the government
intends to call at trial and provide you with a summary of the expert’s opinion.

              The identity, qualifications, and bases for the conclusions of each expert will
be provided to you when they become available.

       F.     Brady Material

             The government is not aware of any exculpatory material regarding the
defendant. The government understands and will comply with its continuing obligation to

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produce exculpatory material as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny.

               Before trial, the government will furnish materials discoverable pursuant to
Title 18, United States Code, Section 3500, as well as impeachment materials. See Giglio v.
United States, 405 U.S. 150 (1972).

       G.     Other Crimes, Wrongs or Acts

                  The government will provide the defendant with reasonable notice in advance
of trial if it intends to offer any material under Fed. R. Evid. 404(b).

II.    The Defendant’s Required Disclosures

                The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendant allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes,
tangible objects, or copies or portions thereof, that are in the defendant’s possession, custody
or control, and that the defendant intends to introduce as evidence or otherwise rely on at
trial, and (2) any results or reports of physical or mental examinations and of scientific tests
or experiments made in connection with this case, or copies thereof, that are in the
defendant’s possession, custody or control, and that the defendant intends to introduce as
evidence or otherwise rely upon at trial, or that were prepared by a witness whom the
defendant intends to call at trial.

              The government also requests that the defendant disclose prior statements of
witnesses who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order
to avoid unnecessary delays, the government requests that the defendant have copies of those
statements available for production to the government no later than the commencement of
trial.

               The government also requests that the defendant disclose a written summary
of testimony that the defendant intends to use as evidence at trial under Rules 702, 703, and
705 of the Federal Rules of Evidence. The summary should describe the opinions of the
witnesses, the bases and reasons for the opinions, and the qualification of the witnesses.

               Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written
notice of the defendant’s intention, if any, to claim a defense of actual or believed exercise of
public authority, and also demands the names and addresses of the witnesses upon whom the
defendant intends to rely in establishing the defense identified in any such notice.

III.   Emails Sent and Received by Defendants Incarcerated at a Bureau of Prisons Facility

              The government may request that the Bureau of Prisons (“BOP”) produce to
the government emails sent and received by any defendant during his period of incarceration
at a BOP facility (collectively, “BOP email communications”). While it is the government's
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position that BOP email communications, including those between the defendant and his
attorneys and other legal assistants and paralegals on their staff, are not privileged
communications, in most instances, the government will request that the BOP exclude from
any production communications between the defendant and his attorneys and other legal
assistants and paralegals on their staff, if you provide the full email addresses for such
attorneys, legal assistants and paralegals by December 10, 2019. To enable this process, the
government requests that you send an email to the undersigned Assistant U.S. Attorneys with
the list of email addresses in the body of the email. If you subsequently wish to provide an
email address for an additional attorney, legal assistant or paralegal or change any of the
previously-provided email addresses, you should send an email with the complete list of
email addresses, including email addresses that remain unchanged, in the body of the email.

IV.    Future Discussions

               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

               Please be advised that, pursuant to the policy of the Office concerning plea
offers and negotiations, no plea offer is effective unless and until made in writing and signed
by authorized representatives of the Office. In particular, any discussion regarding the
pretrial disposition of a matter that is not reduced to writing and signed by authorized
representatives of the Office cannot and does not constitute a “formal offer” or a “plea offer,”
as those terms are used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye,
132 S. Ct. 1399 (2012).

                                                   Very truly yours,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney

                                            By:     /s/
                                                   Shannon C. Jones
                                                   John Vageltos
                                                   Assistant U.S. Attorneys
                                                   (718) 254-6379 (S. Jones)

Enclosures

cc:    Clerk of the Court (MKB) (by ECF) (without enclosure)




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